         Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 1 of 59




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


TEXTILE COMPUTER SYSTEMS, INC.,

                       Plaintiff,
                                                         Civil Action No. 6:21-cv-1054-ADA
v.
                                                             JURY TRIAL DEMANDED
INDEPENDENT BANK,

                       Defendant.



                      INDEPENDENT BANK’S ANSWER,
        AFFIRMATIVE AND OTHER DEFENSES, AND COUNTERCLAIMS TO
       PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Defendant Independent Bank (“Defendant,” now Independent Financial), by and through

its attorneys, respectfully submits the following Answer, Affirmative and Other Defenses, and

Counterclaims to Plaintiff Textile Computer Systems, Inc.’s (“Plaintiff”) Original Complaint for

Patent Infringement (“Complaint”).        In so doing, Defendant Independent Bank denies the

allegations of the Complaint as to it except as specifically set forth herein.1

                                             PARTIES

       1.      Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in Paragraph 1 of the Complaint and, therefore, denies each and

every allegation set forth therein.

       2.      Defendant admits that Independent Bank is a Texas chartered bank with its


1
    For avoidance of doubt, Defendant denies any allegations against it that Plaintiff attempted to
present in headings in, or the introductory paragraph to, the Complaint. Headings are included
here only for the Court’s convenience.




                                                 -1-
         Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 2 of 59




headquarters at 7777 Henneman Way, McKinney, TX 75070. Defendant further admits that it has

branches in Waco, TX and Austin, TX. Except as expressly admitted herein, Defendant denies

each and every other allegation against it set forth in Paragraph 2 of the Complaint.

       3.      Defendant denies each and every allegation against it set forth in Paragraph 3 of the

Complaint.

       4.      Defendant denies each and every allegation against it set forth in Paragraph 4 of the

Complaint.

       5.      Defendant denies each and every allegation against it set forth in Paragraph 5 of the

Complaint.

       6.      Defendant admits that it contracts with third-parties, such as its customers and

vendors. Except as expressly admitted herein, Defendant denies each and every other allegation

against it set forth in Paragraph 6 of the Complaint.

       7.      Defendant denies each and every allegation against it set forth in Paragraph 7 of the

Complaint.

                                 JURISDICTION AND VENUE

       8.      Defendant admits that the Complaint alleges causes of action against it arising

under 35 U.S.C. § 271 and seeking remedies under 35 U.S.C. §§ 281, and 284–85. Defendant

admits that the Court has subject matter jurisdiction over the alleged causes of action pursuant to

28 U.S.C. §§ 1331 and 1338(a).

       9.      For the purposes of this matter, Defendant admits that the Court has personal

jurisdiction over it. Defendant further admits that it has conducted and conducts business in the

State of Texas. Defendant denies each and every other allegation against it set forth in Paragraph

9 of the Complaint.




                                                -2-
           Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 3 of 59




       10.     For the purposes of this matter, Defendant does not contest that venue is proper in

this District pursuant to 28 U.S.C. § 1400. Defendant admits that it has a branch located at 8004

Woodway Drive, Suite 200, Waco, TX 76712, and a branch located at 1011 West 40th Street, Suite

100, Austin, TX 78756. Defendant admits that it offers debit and credit cards. Defendant states

that the images in Paragraph 10 of the Complaint do not contain any allegations, are not described

in the Complaint and, as such, Defendant denies any implications regarding such images.

Defendant denies each and every other allegation against it set forth in Paragraph 10 of the

Complaint.

                                        BACKGROUND

       11.     Defendant states that U.S. Patent No. 8,505,079 (“the ’079 Patent”), U.S. Patent

No. 8,533,802 (“the ’802 Patent”), U.S. Patent No. 9,584,499 (“the ’499 Patent”), U.S. Patent No.

10,148,659 (“the ’659 Patent”), and U.S. Patent No. 10,560,454 (“the ’454 Patent,” and

collectively, the “Asserted Patents”) speak for themselves, and that it is without sufficient

knowledge or information to form a belief as to the truth of the allegations set forth in Paragraph

11 of the Complaint and, therefore, denies each and every allegation set forth therein.

       12.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in Paragraph 12 of the Complaint and, therefore, denies each and

every allegation set forth therein.

       13.     Defendant states that the Asserted Patents speak for themselves, and that it is

without sufficient knowledge or information to form a belief as to the truth of the allegations set

forth in Paragraph 13 of the Complaint and, therefore, denies each and every allegation set forth

therein.




                                               -3-
           Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 4 of 59




                                  THE ASSERTED PATENTS

       14.     Defendant states that the Asserted Patents speak for themselves, and that it is

without sufficient knowledge or information to form a belief as to the truth of the allegations set

forth in Paragraph 14 of the Complaint and, therefore, denies each and every allegation set forth

therein.

       15.     Defendant states that the Asserted Patents speak for themselves, and that it is

without sufficient knowledge or information to form a belief as to the truth of the allegations set

forth in Paragraph 15 of the Complaint and, therefore, denies each and every allegation set forth

therein.

       16.     Defendant states that the Asserted Patents speak for themselves, and that it is

without sufficient knowledge or information to form a belief as to the truth of the allegations set

forth in Paragraph 16 of the Complaint and, therefore, denies each and every allegation set forth

therein.

       17.     Defendant states that the Asserted Patents speak for themselves, and that it is

without sufficient knowledge or information to form a belief as to the truth of the allegations set

forth in Paragraph 17 of the Complaint and, therefore, denies each and every allegation set forth

therein.

       18.     Defendant states that the Asserted Patents and the third-party EMVCo document,

which was not appended to the Complaint, yet is referenced in-part and out-of-context in Paragraph

18, speaks for itself, and that Defendant is without sufficient knowledge or information to form a

belief as to the truth of the allegations set forth in Paragraph 18 of the Complaint and, therefore,

denies each and every allegation set forth therein.

       19.     Defendant states that the third-party EMVCo document, which was not appended




                                                -4-
         Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 5 of 59




to the Complaint, yet is referenced in-part and out-of-context in Paragraph 18, speaks for itself,

and that Defendant is without sufficient knowledge or information to form a belief as to the truth

of the allegations set forth in Paragraph 19 of the Complaint and, therefore, denies each and every

allegation set forth therein.

        20.     Defendant admits that certain claims of the ’079 Patent were challenged by a third-

party in an inter partes review proceeding, in which Defendant did not participate. Defendant

states that the records of that proceeding speak for themselves, and Defendant denies that the inter

partes review proceeding confirmed the patentability of all challenged claims of the ’079 Patent.

Defendant states that it is without sufficient knowledge or information to form a belief as to the

truth of the remaining allegations set forth in Paragraph 20 of the Complaint and, therefore, denies

each and every other allegation set forth therein.

                                            COUNT I

               ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,505,079

        21.     Defendant admits that the ’079 Patent is entitled “Authentication System and

Related Method” and the face of the patent states that it was issued on August 6, 2013. Defendant

states that the ’079 Patent speaks for itself. Defendant denies that the ’079 Patent was properly

issued by the U.S. Patent and Trademark Office. Except as expressly admitted and denied herein,

Defendant denies each and every other allegation against it set forth in Paragraph 21 of the

Complaint.

        22.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in Paragraph 22 of the Complaint and, therefore, denies each and

every allegation set forth therein.

        23.     Defendant admits that it offers debit and credit cards, and states that its website,




                                                -5-
         Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 6 of 59




including the webpage referenced in part in Paragraph 23 of the Complaint, speaks for itself.

Defendant denies any allegation regarding an “Independent Bank card authentication system.”

Defendant is without sufficient knowledge or information to form a belief as to the truth of the

remaining allegations set forth in Paragraph 23 of the Complaint and, therefore, denies each and

every other allegation set forth therein.

       24.     Denied.

       25.     Denied.

       26.     Denied.

       27.     Denied.

       28.     Denied.

       29.     Denied.

       30.     Denied.

       31.     Denied.

       32.     Denied.

       33.     Denied.

       34.     Denied.

       35.     Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegation of contributory infringement as to the ’079 Patent

has been dismissed. To the extent a response is required to any such allegations in Paragraph 35

of the Complaint, or elsewhere in the Complaint, Defendant denies each and every such allegation.

Defendant further denies each and every other allegation in Paragraph 35 of the Complaint.

       36.     Denied.

       37.     Denied.




                                               -6-
         Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 7 of 59




       38.     Denied.

       39.     Denied.

       40.     Defendant admits that it had knowledge of the ’079 Patent as of the date when it

was notified of the filing of this action. Except as expressly admitted herein, Defendant denies

each and every other allegation against it set forth in Paragraph 43 of the Complaint.

       41.     Denied.

       42.     Denied.

       43.     Denied.

                                            COUNT II

               ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,533,802

       44.     Defendant admits that the ’802 Patent is entitled “Authentication System and

Related Method” and the face of the patent states that it was issued on September 10, 2013.

Defendant states that the ’802 Patent speaks for itself. Defendant denies that the ’802 Patent was

properly issued by the U.S. Patent and Trademark Office. Except as expressly admitted and denied

herein, Defendant denies each and every other allegation against it set forth in Paragraph 44 of the

Complaint.

       45.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in Paragraph 45 of the Complaint and, therefore, denies each and

every allegation set forth therein.

       46.     Defendant admits that it offers debit and credit cards, and states that its website,

including the webpage referenced in part in Paragraph 46 of the Complaint, speaks for itself.

Defendant denies any allegation regarding an “Independent Bank card authentication system.”

Defendant is without sufficient knowledge or information to form a belief as to the truth of the




                                               -7-
         Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 8 of 59




remaining allegations set forth in Paragraph 46 of the Complaint and, therefore, denies each and

every other allegation set forth therein.

       47.     Denied.

       48.     Denied.

       49.     Denied.

       50.     Denied.

       51.     Denied.

       52.     Denied.

       53.     Denied.

       54.     Denied.

       55.     Denied.

       56.     Denied.

       57.     Denied.

       58.     Denied.

       59.     Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegation of contributory infringement as to the ’802 Patent

has been dismissed. To the extent a response is required to any such allegations in Paragraph 59

of the Complaint, or elsewhere in the Complaint, Defendant denies each and every such allegation.

Defendant further denies each and every other allegation in Paragraph 59 of the Complaint.

       60.     Denied.

       61.     Denied.

       62.     Denied.

       63.     Denied.




                                               -8-
         Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 9 of 59




       64.     Defendant admits that it had knowledge of the ’802 Patent as of the date when it

was notified of the filing of this action. Except as expressly admitted herein, Defendant denies

each and every other allegation against it set forth in Paragraph 64 of the Complaint.

       65.     Denied.

       66.     Denied.

       67.     Denied.

                                            COUNT III

               ALLEGED INFRINGEMENT OF U.S. PATENT NO. 9,584,499

       68.     Defendant admits that the ’499 Patent is entitled “Authentication System and

Method” and the face of the patent states that it was issued on February 28, 2017. Defendant states

that the ’499 Patent speaks for itself. Defendant denies that the ’499 Patent was properly issued

by the U.S. Patent and Trademark Office. Except as expressly admitted and denied herein,

Defendant denies each and every other allegation against it set forth in Paragraph 68 of the

Complaint.

       69.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in Paragraph 69 of the Complaint and, therefore, denies each and

every allegation set forth therein.

       70.     Defendant admits that it offers debit and credit cards, and states that its website,

including the webpage referenced in part in Paragraph 70 of the Complaint, speaks for itself.

Defendant denies any allegation regarding an “Independent Bank transaction-specific access

authorization system.” Defendant is without sufficient knowledge or information to form a belief

as to the truth of the remaining allegations set forth in Paragraph 70 of the Complaint and,

therefore, denies each and every other allegation set forth therein.




                                                -9-
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 10 of 59




       71.     Denied.

       72.     Denied.

       73.     Denied.

       74.     Denied.

       75.     Denied.

       76.     Denied.

       77.     Denied.

       78.     Denied.

       79.     Denied.

       80.     Denied.

       81.     Denied.

       82.     Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegation of induced infringement as to the ’499

Patent has been dismissed. To the extent a response is required to any such allegations in

Paragraph 82 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant further denies each and every other allegation in Paragraph 82 of the

Complaint.

       83.     Denied.

       84.     Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegation of contributory infringement as to the ’499 Patent

has been dismissed. To the extent a response is required to any such allegations in Paragraph 84

of the Complaint, or elsewhere in the Complaint, Defendant denies each and every such allegation.

Defendant further denies each and every other allegation in Paragraph 84 of the Complaint.




                                               - 10 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 11 of 59




       85.     Denied.

       86.     Denied.

       87.     Denied.

       88.     Denied.

       89.     Defendant admits that it had knowledge of the ’499 Patent as of the date when it

was notified of the filing of this action. Except as expressly admitted herein, Defendant denies

each and every other allegation against it set forth in Paragraph 89 of the Complaint.

       90.     Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegation of willful infringement as to the ’499

Patent has been dismissed. To the extent a response is required to any such allegations in

Paragraph 90 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant further denies each and every other allegation in Paragraph 90 of the

Complaint.

       91.     Denied.

       92.     Denied.

                                           COUNT IV

              ALLEGED INFRINGEMENT OF U.S. PATENT NO. 10,148,659

       93.     Defendant admits that the ’659 Patent is entitled “Authentication System and

Method” and the face of the patent states that it was issued on December 4, 2018. Defendant states

that the ’659 Patent speaks for itself. Defendant denies that the ’659 Patent was properly issued

by the U.S. Patent and Trademark Office. Except as expressly admitted and denied herein,

Defendant denies each and every other allegation against it set forth in Paragraph 93 of the

Complaint.




                                              - 11 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 12 of 59




       94.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in Paragraph 94 of the Complaint and, therefore, denies each and

every allegation set forth therein.

       95.     Defendant admits that it offers debit and credit cards, and states that its website,

including the webpage referenced in part in Paragraph 95 of the Complaint, speaks for itself.

Defendant denies any allegation regarding an “Independent Bank transaction-specific access

authorization system.” Defendant is without sufficient knowledge or information to form a belief

as to the truth of the remaining allegations set forth in Paragraph 95 of the Complaint and,

therefore, denies each and every other allegation set forth therein.

       96.     Denied.

       97.     Denied.

       98.     Denied.

       99.     Denied.

       100.    Denied.

       101.    Denied.

       102.    Denied.

       103.    Denied.

       104.    Denied

       105.    Denied.

       106.    Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegation of induced infringement as to the ’659

Patent has been dismissed. To the extent a response is required to any such allegations in

Paragraph 106 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every




                                               - 12 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 13 of 59




such allegation. Defendant further denies each and every other allegation in Paragraph 106 of the

Complaint.

       107.    Denied.

       108.    Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegation of contributory infringement as to the ’659 Patent

has been dismissed. To the extent a response is required to any such allegations in Paragraph 108

of the Complaint, or elsewhere in the Complaint, Defendant denies each and every such allegation.

Defendant further denies each and every other allegation in Paragraph 108 of the Complaint.

       109.    Denied.

       110.    Denied.

       111.    Denied.

       112.    Denied.

       113.    Defendant admits that it had knowledge of the ’659 Patent as of the date when it

was notified of the filing of this action. Except as expressly admitted herein, Defendant denies

each and every other allegation against it set forth in Paragraph 113 of the Complaint.

       114.    Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegation of willful infringement as to the ’659

Patent has been dismissed. To the extent a response is required to any such allegations in

Paragraph 114 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant further denies each and every other allegation in Paragraph 114 of the

Complaint.

       115.    Denied.

       116.    Denied.




                                               - 13 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 14 of 59




                                            COUNT V

              ALLEGED INFRINGEMENT OF U.S. PATENT NO. 10,560,454

       117.    Defendant admits that the ’454 Patent is entitled “Authentication System and

Method” and the face of the patent states that it was issued on February 11, 2020. Defendant states

that the ’454 Patent speaks for itself. Defendant denies that the ’454 Patent was properly issued

by the U.S. Patent and Trademark Office. Except as expressly admitted and denied herein,

Defendant denies each and every other allegation against it set forth in Paragraph 117 of the

Complaint.

       118.    Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in Paragraph 118 of the Complaint and, therefore, denies each and

every allegation set forth therein.

       119.    Defendant admits that it offers debit and credit cards, and states that its website,

including the webpage referenced in part in Paragraph 119 of the Complaint, speaks for itself.

Defendant denies any allegation regarding an “Independent Bank transaction-specific access

authorization system.” Defendant is without sufficient knowledge or information to form a belief

as to the truth of the remaining allegations set forth in Paragraph 119 of the Complaint and,

therefore, denies each and every other allegation set forth therein.

       120.    Denied.

       121.    Denied.

       122.    Denied.

       123.    Denied.

       124.    Denied.

       125.    Denied.




                                               - 14 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 15 of 59




       126.    Denied.

       127.    Denied.

       128.    Denied.

       129.    Denied.

       130.    Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegation of induced infringement as to the ’454

Patent has been dismissed. To the extent a response is required to any such allegations in

Paragraph 130 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant further denies each and every other allegation in Paragraph 130 of the

Complaint.

       131.    Denied.

       132.    Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegation of contributory infringement as to the ’454 Patent

has been dismissed. To the extent a response is required to any such allegations in Paragraph 132

of the Complaint, or elsewhere in the Complaint, Defendant denies each and every such allegation.

Defendant further denies each and every other allegation in Paragraph 132 of the Complaint.

       133.    Denied.

       134.    Denied.

       135.    Denied.

       136.    Denied.

       137.    Defendant admits that it had knowledge of the ’454 Patent as of the date when it

was notified of the filing of this action. Except as expressly admitted herein, Defendant denies

each and every other allegation against it set forth in Paragraph 137 of the Complaint.




                                               - 15 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 16 of 59




       138.   Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegation of willful infringement as to the ’454

Patent has been dismissed. To the extent a response is required to any such allegations in

Paragraph 138 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant further denies each and every other allegation in Paragraph 138 of the

Complaint.

       139.   Denied.

       140.   Denied.

                              ADDITIONAL ALLEGATIONS

       141.   Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of

the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 141 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant further denies each and every other allegation

in Paragraph 141 of the Complaint.

       142.   Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of

the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 142 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant denies each and every other allegation set forth

in Paragraph 142 of the Complaint.

       143.   Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of




                                             - 16 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 17 of 59




the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 143 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant denies each and every other allegation set forth

in Paragraph 143 of the Complaint.

       144.   Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of

the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 144 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant denies each and every other allegation set forth

in Paragraph 144 of the Complaint.

       145.   Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of

the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 145 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant denies each and every other allegation set forth

in Paragraph 145 of the Complaint.

       146.   Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of

the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 146 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant denies each and every other allegation set forth

in Paragraph 146 of the Complaint.

       147.   Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,




                                             - 17 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 18 of 59




Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of

the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 147 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant denies each and every other allegation set forth

in Paragraph 147 of the Complaint.

       148.      Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of

the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 148 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant denies each and every other allegation set forth

in Paragraph 148 of the Complaint.

       149.      Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of induced infringement as to each of

the ’499, ’659, and ’454 Patents have been dismissed. To the extent a response is required to any

such allegations in Paragraph 149 of the Complaint, or elsewhere in the Complaint, Defendant

denies each and every such allegation. Defendant denies each and every other allegation set forth

in Paragraph 149 of the Complaint.

       150.      Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegations of contributory infringement as to the Asserted

Patents have been dismissed. To the extent a response is required to any such allegations in

Paragraph 150 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant denies each and every other allegation set forth in Paragraph 150 of

the Complaint.




                                              - 18 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 19 of 59




       151.      Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegations of contributory infringement as to the Asserted

Patents have been dismissed. To the extent a response is required to any such allegations in

Paragraph 151 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant denies each and every other allegation set forth in Paragraph 151 of

the Complaint.

       152.      Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegations of contributory infringement as to the Asserted

Patents have been dismissed. To the extent a response is required to any such allegations in

Paragraph 152 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant denies each and every other allegation set forth in Paragraph 152 of

the Complaint.

       153.      Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegations of contributory infringement as to the Asserted

Patents have been dismissed. To the extent a response is required to any such allegations in

Paragraph 153 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant denies each and every other allegation set forth in Paragraph 153 of

the Complaint.

       154.      Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s allegations of contributory infringement as to the Asserted

Patents have been dismissed. To the extent a response is required to any such allegations in

Paragraph 154 of the Complaint, or elsewhere in the Complaint, Defendant denies each and every

such allegation. Defendant denies each and every other allegation set forth in Paragraph 154 of




                                              - 19 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 20 of 59




the Complaint.

        155.     Denied.

        156.     Defendant admits that it had knowledge of the Asserted Patents as of the date when

it was notified of the filing of this action. Except as expressly admitted herein, Defendant denies

each and every other allegation against it set forth in Paragraph 156 of the Complaint.

        157.     Denied.

        158.     Denied.

        159.     Pursuant to the Court’s Order on Defendant’s Motion to Dismiss, ECF No. 58,

Defendant understands that Plaintiff’s pre-suit allegations of willful infringement as to the ’499,

’659, and ’454 Patents (as well as allegations of contributory infringement and pre-suit inducement

of infringement) have been dismissed. To the extent a response is required to any such allegations

in Paragraph 159 of the Complaint, or elsewhere in the Complaint, Defendant denies each and

every such allegation. Defendant further denies each and every other allegation in Paragraph 159

of the Complaint.

        160.     Denied.

                                          JURY DEMAND

        161.     Defendant acknowledges that Plaintiff has demanded a trial by jury.

                                       PRAYER FOR RELIEF

        162.     Defendant denies that Plaintiff is entitled to any of the requested relief whatsoever

including, but not limited to, any monetary damages, increased damages, injunction, attorneys’

fees or costs. As such, Defendant denies any and all such allegations set forth in paragraphs a.

through f. of its Prayer for Relief.




                                                 - 20 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 21 of 59




                                 DEFENDANT’S JURY DEMAND

               Defendant Independent Bank demands a trial by jury on all issues so triable.

                          AFFIRMATIVE AND OTHER DEFENSES

       Further answering Plaintiff’s Complaint, and as additional defenses thereto, Defendant

asserts the following additional defenses, without assuming the burden of proof when such burden

would otherwise be on Plaintiff. Defendant expressly reserves the right to amend its Answer to

the Complaint, Affirmative and Other Defenses and Counterclaims as additional information

becomes available, is otherwise discovered, and/or as permitted within the time frame envisioned

by any future case management and discovery orders and/or as leave may be granted by the Court,

and to introduce any of the following and any additional affirmative defenses, other defenses, and

counterclaims, that may arise.

                                    First Affirmative Defense

       1.      Except as expressly admitted herein, Defendant denies each and every allegation

contained in the Complaint.

                                   Second Affirmative Defense

       2.      Plaintiff fails to state a claim against Defendant upon which relief can be granted.

                                    Third Affirmative Defense

       3.      Upon information and belief, Defendant states that Plaintiff is wholly or partially

barred from the relief that it seeks because the Asserted Patents are invalid as to each of the claims

thereof for failure to comply with the requirements of the patent laws of the United States, 35

U.S.C. § 100, et seq., including, but not limited to, those set forth in 35 U.S.C. §§ 101, 102, 103,

and/or 112.

                                   Fourth Affirmative Defense




                                                - 21 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 22 of 59




       4.      Upon information and belief, Defendant states that Plaintiff is wholly or partially

barred from the relief that it seeks based upon the principles and doctrines of license, waiver,

equitable estoppel, and/or acquiescence.

                                     Fifth Affirmative Defense

       5.      Upon information and belief, Defendant states that Plaintiff is wholly or partially

barred from the relief that it seeks based upon the principle and doctrine of unclean hands which

has resulted in extreme prejudice and detriment to Defendant.

                                    Sixth Affirmative Defense

       6.      Defendant has not made, used, imported, offered for sale or sold in the United

States, and is not making, using, importing, offering for sale, or selling, any product or service that

infringed, infringes, or would infringe any patentable, valid, and/or enforceable claim of the

Asserted Patents either literally or under the doctrine of equivalents.

                                   Seventh Affirmative Defense

       7.      Upon information and belief, Defendant states that the patent infringement claims

asserted by Plaintiff are barred on the grounds of patent misuse.

                                    Eighth Affirmative Defense

       8.      Defendant denies that Plaintiff is entitled to any of the relief requested.

                                    Ninth Affirmative Defense

       9.      To the extent any claim of the Asserted Patents may have been or be patentable,

valid, and enforceable, which Defendant expressly denies, Defendant has not infringed, willfully

or otherwise, contributed to the infringement of, and/or induced the infringement of any claim of

the Asserted Patents or committed any wrongdoing at issue in this lawsuit.

                                    Tenth Affirmative Defense




                                                - 22 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 23 of 59




       10.     To the extent that Plaintiff asserts that Defendant is found, arguendo, to indirectly

infringe any claim(s) of the Asserted Patents, either by indirect infringement or inducement of

infringement, Defendant is not liable to Plaintiff for the acts alleged to have been performed before

Defendant knew that the actions would allegedly cause indirect infringement.

                                  Eleventh Affirmative Defense

       11.     To the extent Plaintiff may be successful in proving any of its liability allegations,

which Defendant expressly denies, and Plaintiff is able to prove any alleged damages, it has

neglected, failed, and refused to mitigate damages, if any, and is thereby barred from recovery

herein, or any such recovery must be reduced accordingly.

                                   Twelfth Affirmative Defense

       12.     Upon information and belief, by reason of the proceedings in the U.S. Patent and

Trademark Office during the prosecution of the applications that matured into the Asserted Patents,

including during the prosecutions of applications related to the Asserted Patents, and, in particular,

the applicants’ and/or his representative(s)’ and/or agents’ remarks, representations, concessions,

amendments, and/or admissions during those proceedings, Plaintiff is precluded and estopped from

asserting that Defendant has infringed any claim of the Asserted Patents.

                                  Thirteenth Affirmative Defense

       13.     Upon information and belief, Defendant states that, by reason of prosecution history

estoppel, Plaintiff is barred from asserting a claim construction that would cause any of the claims

of the Asserted Patents to be infringed by any products or services made, used, offered for sale,

sold, or imported by Defendant.

                                 Fourteenth Affirmative Defense

       14.     Upon information and belief, Defendant states that, by reason of the prior




                                                - 23 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 24 of 59




proceedings concerning the alleged invention(s) of the Asserted Patents (including, for example,

during prior inter partes review proceedings concerning one or more of the Asserted Patents) and,

in particular, the patentee(s)’ and/or his representative(s)’ and/or agents’ remarks, representations,

concessions, amendments, and/or admissions during those proceedings, and/or orders entered in

or rulings made in those proceedings, Plaintiff is precluded and estopped from asserting that

Defendant has infringed any claim of the Asserted Patents.

                                   Fifteenth Affirmative Defense

       15.     Upon information and belief, Plaintiff is not entitled to any damages or any other

remedy under 35 U.S.C. §§ 284 or 285 with respect to any products made, used, offered for sale,

sold, and/or imported by Defendants, or any services offered for sale, sold and/or used by

Defendant, which are alleged to infringe any of the claims of U.S. Patent No. 8,505,079, U.S.

Patent No. 8,533,802, U.S. Patent No. 10,148,659, and U.S. Patent No. 10,560,454 to the extent

that Plaintiff and/or any predecessor owner(s) and/or licensee(s) of such patents have not complied

with the notice requirements of 35 U.S.C. § 287.

                                   Sixteenth Affirmative Defense

       16.     Any claims of the Asserted Patents that may not be, arguendo, held unpatentable,

invalid, and/or unenforceable are so restricted in scope that Defendant has not infringed, and does

not infringe, upon any such claims.

                                  Seventeenth Affirmative Defense

       17.     Upon information and belief, Defendant states that Plaintiff is wholly or partially

barred from the relief that it seeks because each of the claims of the Asserted Patents are directed

to unpatentable subject matter.




                                                - 24 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 25 of 59




                                 Eighteenth Affirmative Defense

       18.     Plaintiff has dedicated to the public all methods, systems, apparatus, and/or

products disclosed in the Asserted Patents, but not literally claimed, and is estopped from claiming

infringement by any such public domain methods, systems, apparatus, and/or products.

                                 Nineteenth Affirmative Defense

       19.     Plaintiff is not entitled to an injunction. Plaintiff cannot show that it has suffered

or will suffer any irreparable harm or immediate injury as a result of Defendant’s alleged actions.

Plaintiff cannot show that remedies available at law, such as monetary damages, are inadequate to

compensate for any alleged injury caused by Defendant’s alleged actions. Plaintiff cannot show

that, considering the balance of hardships between Plaintiff and Defendant, a remedy in equity or

law is warranted. Plaintiff cannot show that the public interest favors an injunction against

Defendant. Plaintiff cannot meet any of the requirements for an injunction.

                                 Twentieth Affirmative Defense

       20.     Upon information and belief, pursuant to 28 U.S.C. § 1498, at least a portion or the

entirety of the alleged damages Plaintiff seeks to recover from Defendant for alleged infringement

cannot be awarded in or by this Court.

                                Twenty-First Affirmative Defense

       21.     To the extent that Plaintiff asserts that Defendant jointly infringes any asserted

claim(s) as a result of Defendant’s alleged actions with any third-party, including, for example,

any of Defendant’s customer(s) or vendor(s), Defendant is not liable to Plaintiff for the acts alleged

to have been performed where Defendant does not direct or control the third-party and where

Defendant and the third-party do not form a joint enterprise.

                              Twenty-Second Affirmative Defense




                                                - 25 -
           Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 26 of 59




           22.   To the extent that Plaintiff asserts that Defendant uses any asserted claim(s), alone

or as a result of Defendant’s alleged actions with any third-party, including, for example, any of

Defendant’s customer(s) or vendor(s), Defendant is not liable to Plaintiff where Defendant does

not put the alleged invention into service, i.e., control the system as a whole and obtain benefit

from it.

                                Twenty-Third Affirmative Defense

           23.   Plaintiff cannot meet the requirements for an award of enhanced damages, treble

damages, or attorneys’ fees.

                               Twenty-Fourth Affirmative Defense

           24.   On information and belief, Defendant states that Plaintiff is not entitled to relief

because any attempted assignment of rights under the Asserted Patents to Plaintiff was void or

ineffective, and Plaintiff does not have standing to enforce the Asserted Patents.



           WHEREFORE, Independent Bank denies that Plaintiff Textile Computer Systems, Inc. is

entitled to any relief as prayed for in its Complaint or otherwise and, accordingly, respectfully

prays for entry of judgment:

                 A.     Dismissing Plaintiff Textile Computer Systems, Inc.’s Original Complaint

for Patent Infringement against Independent Bank, with prejudice;

                 B.     Finding that Independent Bank has not infringed, directly or indirectly,

upon any of the claims of the Asserted Patents;

                 C.     Finding that each claim of the Asserted Patents is unpatentable;

                 D.     Finding that each claim of the Asserted Patents is invalid;

                 E.     Finding that each claim of the Asserted Patents is unenforceable;




                                                - 26 -
           Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 27 of 59




                F.     Permanently enjoining Plaintiff Textile Computer Systems, Inc. and its

respective officers, directors, agents, servants, employees and attorneys, and any and all persons

in active concert or participation with any of them, from directly or indirectly asserting, stating,

implying or suggesting that Independent Bank and/or any of its respective officers, agents,

servants, employees, subsidiaries, vendors, or customers infringe any of the claims of the Asserted

Patents, or instituting any further action for infringement of the Asserted Patents against

Independent Bank, or any of its customers, vendors, agents, successors and assigns;

                G.     Finding that this case is exceptional pursuant to 35 U.S.C. § 285 and

awarding Independent Bank its costs, expenses, and reasonable attorneys’ fees incurred in

connection with this action; and

                H.     Awarding to Independent Bank such other and further relief and damages

as the Court deems just and proper under the circumstances.



                                      COUNTERCLAIMS

       Comes now Defendant and Counterclaim-Plaintiff Independent Bank (“Counterclaim-

Plaintiff”), by and through its attorneys, and for its Counterclaim against Plaintiff and

Counterclaim-Defendant Textile Computer Systems, Inc. (“Counterclaim-Defendant”), states as

follows:




                                               - 27 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 28 of 59




                                       Nature of the Action

       1.      These Counterclaims seek, inter alia, a judgment declaring that all of the claims of

U.S. Patent No. 8,505,079, U.S. Patent No. 8,533,802, U.S. Patent No. 9,584,499, U.S. Patent No.

10,148,659, and U.S. Patent No. 10,560,454 (the “Asserted Patents”) are unpatentable, invalid,

and/or not infringed by Counterclaim-Plaintiff.

                                     Jurisdiction and Venue

       2.      This Court has subject matter jurisdiction over this Counterclaim pursuant to the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., under 28 U.S.C. §§ 1331 and 1338(a), and

under the patent laws of the United States, 35 U.S.C. § 1, et seq. Venue is proper in this judicial

district because the counterclaims arise out of the instant action.

                                            The Parties

       3.      Counterclaim-Plaintiff Independent Bank is a Texas chartered bank with its

headquarters at 7777 Henneman Way, McKinney, TX 75070.

       4.      Upon information and belief and based solely on paragraph 1 of the Original

Complaint for Patent Infringement (“Complaint”) as pled by Counterclaim-Defendant,

Counterclaim-Plaintiff states that Counterclaim-Defendant Textile Computer Systems, Inc. is a

corporation organized and existing under the laws of the State of Texas that maintains its principal

place of business at 618 Bluff Trail, San Antonio, Texas 78216.

                              Acts Giving Rise to the Counterclaim

       5.      On October 10, 2021, Counterclaim-Defendant commenced a civil lawsuit against

Counterclaim-Plaintiff alleging that it infringed and is infringing upon one or more of the claims

of the Asserted Patents.

       6.      By such actions, Counterclaim-Defendant has created an actual and justiciable case




                                                - 28 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 29 of 59




and controversy between itself and Counterclaim-Plaintiff concerning whether the Asserted

Patents are patentable, valid, and/or enforceable, as well as whether Counterclaim-Plaintiff has

infringed upon any patentable, valid, and/or enforceable claim of the Asserted Patents.

       7.        Counterclaim-Plaintiff has not infringed upon any claims, much less any

patentable, valid, or enforceable claims, of the Asserted Patents.

                                  COUNTERCLAIM COUNT I

             Declaratory Judgment of Unpatentability of U.S. Patent No. 8,505,079

       8.        Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 7 of this Counterclaim as if fully set forth and restated herein.

       9.        At least the asserted claims 1-3, 6-9, 11-13, and 16-19 of U.S. Patent No. 8,505,079

are unpatentable, and void, as each is directed toward a patent-ineligible abstract idea and lacks

any inventive concept, element sufficient to transform the nature of the claim into a patent-eligible

application, and/or combination of elements sufficient to transform the nature of the claim into a

patent-eligible application.

       10.       Based on Counterclaim-Defendant’s filing of its Complaint, an actual controversy

has arisen and now exists between the parties as to the unpatentability of the claims of U.S. Patent

No. 8,505,079.

       11.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

8,505,079 are unpatentable, and void, for failure to comply with 35 U.S.C. § 101.

                                  COUNTERCLAIM COUNT II

               Declaratory Judgment of Invalidity of U.S. Patent No. 8,505,079

       12.       Counterclaim-Plaintiff incorporates by reference each and every allegation set forth




                                                - 29 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 30 of 59




in Paragraph 1 through 11 of this Counterclaim as if fully set forth and restated herein.

       13.      At least the asserted claims 1-3, 6-9, 11-13, and 16-19 of U.S. Patent No. 8,505,079

are invalid, and void, for failure to comply with the requirements of the patent laws of the United

States, 35 U.S.C. § 100 et seq., for one or more of the following reasons, as well as others

hereinafter set forth or which Counterclaim-Plaintiff may hereafter discover or otherwise become

informed of:

             (a) The alleged invention(s) was/were not new before the applicant’s alleged

             conception and/or reduction to practice;

             (b) The alleged invention(s) was/were known or used by others in this country, or

             patented or described in a printed publication in this or a foreign country, before the

             alleged invention thereof by the applicant for patent(s);

             (c) The alleged invention(s) was/were patented or described in a printed publication in

             this or a foreign country, or were in public use, on sale or sold in this country, more

             than one year prior to the date of the application thereof in the United States;

             (d) The alleged invention(s) was/were described in a patent granted on an application

             for patent by another filed in the United States before the alleged invention thereof by

             the applicant for the patent(s);

             (e) The patentee did not himself invent the subject matter claimed;

             (f) The patentee abandoned the alleged invention(s);

             (g) Before the alleged invention(s) was/were made by the patentee, said alleged

             invention(s) was/were made in this country by others who had not abandoned,

             suppressed or concealed the same;

             (h) The difference between the subject matter sought to be patented in at least the




                                                 - 30 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 31 of 59




             asserted claims 1-3, 6-9, 11-13, and 16-19 of U.S. Patent No. 8,505,079 and the prior

             art are such that the subject matter as a whole would have been obvious at the time the

             alleged invention(s) was/were made to a person having ordinary skill in the art to which

             said subject matter pertains;

             (i) The alleged invention(s) does not involve the exercise of inventive faculty, but only

             the judgment, knowledge and skill possessed by persons having ordinary skill in the art

             at the time of the alleged invention thereof by the patentee;

             (j) U.S. Patent No. 8,505,079 does not contain a written description of the alleged

             invention(s), and of the manner and process of making and using it/them, in such full,

             clear, concise and exact terms to enable one skilled in the art to which it is directed to

             make and use it/them; and

             (k) The asserted claims do not particularly point out and distinctly claim the subject

             matter which the applicant(s) and/or patentee(s) regard as their invention(s).

       14.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

8,505,079 are invalid, and void, for failure to comply with 35 U.S.C. §§ 102, 103, and/or 112.

                                  COUNTERCLAIM COUNT III

          Declaratory Judgment of Non-Infringement of U.S. Patent No. 8,505,079

       15.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 14 of this Counterclaim as if fully set forth and restated herein.

       16.      Any claims of U.S. Patent No. 8,505,079 that may not be, arguendo, held

unpatentable, invalid, and/or unenforceable are so restricted in scope that Counterclaim-Plaintiff

has not infringed, and does not infringe, upon any such claims.




                                                 - 31 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 32 of 59




       17.     Based on Counterclaim-Defendant’s filing of the Complaint, an actual controversy

has arisen and now exists between the parties as to the non-infringement of the claims of U.S.

Patent No. 8,505,079.

       18.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 1-3 and 6-9 of U.S. Patent No. 8,505,079, inter alia,

because it does not put the alleged invention into service, i.e., control the system as a whole and

obtain benefit from it.

       19.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 1-3 and 6-9 of U.S. Patent No. 8,505,079, inter alia,

because, the accused system does not include at least: “a messaging gateway having a first set of

instructions embodied in a computer readable medium, said first set of instructions operable to

receive from a requester purporting to be an authorized user of a secured resource a request for

access by an unauthorized service client to said secured resource”; “a server in secure

communication with said messaging gateway, said server having a second set of instructions

embodied in a computer readable medium operable to determine a key string known to both said

secured resource and the authorized user said requestor purports to be, said key string being

adapted to provide a basis for authenticating the identity of said requester”; “a service user

interface in communication with said server, said service user interface having a third set of

instructions embodied in a computer readable medium operable to receive input from said

unauthorized service client”; “wherein said second set of instructions is further operable to receive

an authentication credential from said unauthorized service client associated with said request for

access, said authentication credential having been provided to said unauthorized service client by

said requestor”; and “wherein said second set of instructions is further operable to evaluate said




                                               - 32 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 33 of 59




authentication credential to authenticate the identity of said requester.”

       20.     Upon information and belief, Defendant has not jointly infringed, and does not

jointly infringe, any of at least the asserted claims 11-13 and 16-19 of U.S. Patent No. 8,505,079,

inter alia, because, with respect to Defendant’s alleged actions with any third-party, including, for

example, any of Defendant’s customer(s) or vendor(s), Defendant does not direct or control the

third-party and Defendant and the third-party do not form a joint enterprise.

       21.     Upon information and belief, Defendant has not infringed, and does not infringe,

any of at least the asserted claims 11-13 and 16-19 of U.S. Patent No. 8,505,079, inter alia,

because, the accused system does not practice a method for authenticating the identity of a

requester of access to a secured resource, said method for authenticating including at least the steps

of: “receiving at a messaging gateway having a first set of instructions embodied in a computer

readable medium, said first set of instructions operable to receive from a requester purporting to

be an authorized user of a secured resource, a request for access by an unauthorized service client

to a secured resource from a requester purporting to be an authorized user of said secured

resource”; “determining a key string with a server in secure communication with said messaging

gateway, said server having a second set of instructions embodied in a computer readable medium

operable to determine a key string known to both said secured resource and the authorized user

said requestor purports to be, said key string being adapted to provide a basis for authenticating

the identity of said requester”; “a service user interface in communication with said server, said

service user interface having a third set of instructions embodied in a computer readable medium

operable to receive input from said unauthorized service client”; “wherein said second set of

instructions is further operable to receive from said unauthorized service client an authentication

credential associated with said request for access, said authentication credential having been




                                                - 33 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 34 of 59




provided to said unauthorized service client by said requestor”; and “wherein said second set of

instructions is further operable for evaluating said authentication credential to authenticate the

identity of said requester.”

       22.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that it has not and is not infringing

upon any of the claims of U.S. Patent No. 8,505,079.

                                 COUNTERCLAIM COUNT IV

             Declaratory Judgment of Unpatentability of U.S. Patent No. 8,533,802

       23.       Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 22 of this Counterclaim as if fully set forth and restated herein.

       24.       At least the asserted claims 1-2, 5-9, 11-12, and 16-19 of U.S. Patent No. 8,533,802

are unpatentable, and void, as each is directed toward a patent-ineligible abstract idea and lacks

any inventive concept, element sufficient to transform the nature of the claim into a patent-eligible

application, and/or combination of elements sufficient to transform the nature of the claim into a

patent-eligible application.

       25.       Based on Counterclaim-Defendant’s filing of its Complaint, an actual controversy

has arisen and now exists between the parties as to the unpatentability of the claims of U.S. Patent

No. 8,533,802.

       26.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

8,533,802 are unpatentable, and void, for failure to comply with 35 U.S.C. § 101.




                                                - 34 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 35 of 59




                                   COUNTERCLAIM COUNT V

                Declaratory Judgment of Invalidity of U.S. Patent No. 8,533,802

       27.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 26 of this Counterclaim as if fully set forth and restated herein.

       28.      At least the asserted claims 1-2, 5-9, 11-12, and 16-19 of U.S. Patent No. 8,533,802

are invalid, and void, for failure to comply with the requirements of the patent laws of the United

States, 35 U.S.C. § 100 et seq., for one or more of the following reasons, as well as others

hereinafter set forth or which Counterclaim-Plaintiff may hereafter discover or otherwise become

informed of:

             (a) The alleged invention(s) was/were not new before the applicant’s alleged

             conception and/or reduction to practice;

             (b) The alleged invention(s) was/were known or used by others in this country, or

             patented or described in a printed publication in this or a foreign country, before the

             alleged invention thereof by the applicant for patent(s);

             (c) The alleged invention(s) was/were patented or described in a printed publication in

             this or a foreign country, or were in public use, on sale or sold in this country, more

             than one year prior to the date of the application thereof in the United States;

             (d) The alleged invention(s) was/were described in a patent granted on an application

             for patent by another filed in the United States before the alleged invention thereof by

             the applicant for the patent(s);

             (e) The patentee did not himself invent the subject matter claimed;

             (f) The patentee abandoned the alleged invention(s);

             (g) Before the alleged invention(s) was/were made by the patentee, said alleged




                                                 - 35 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 36 of 59




             invention(s) was/were made in this country by others who had not abandoned,

             suppressed or concealed the same;

             (h) The difference between the subject matter sought to be patented in at least the

             asserted claims 1-2, 5-9, 11-12, and 16-19 of U.S. Patent No. 8,533,802 and the prior

             art are such that the subject matter as a whole would have been obvious at the time the

             alleged invention(s) was/were made to a person having ordinary skill in the art to which

             said subject matter pertains;

             (i) The alleged invention(s) does not involve the exercise of inventive faculty, but only

             the judgment, knowledge and skill possessed by persons having ordinary skill in the art

             at the time of the alleged invention thereof by the patentee;

             (j) U.S. Patent No. 8,533,802 does not contain a written description of the alleged

             invention(s), and of the manner and process of making and using it/them, in such full,

             clear, concise and exact terms to enable one skilled in the art to which it is directed to

             make and use it/them; and

             (k) The asserted claims do not particularly point out and distinctly claim the subject

             matter which the applicant(s) and/or patentee(s) regard as their invention(s).

       29.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

8,533,802 are invalid, and void, for failure to comply with 35 U.S.C. §§ 102, 103, and/or 112.

                                  COUNTERCLAIM COUNT VI

          Declaratory Judgment of Non-Infringement of U.S. Patent No. 8,533,802

       30.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 29 of this Counterclaim as if fully set forth and restated herein.




                                                 - 36 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 37 of 59




       31.     Any claims of U.S. Patent No. 8,533,802 that may not be, arguendo, held

unpatentable, invalid, and/or unenforceable are so restricted in scope that Counterclaim-Plaintiff

has not infringed, and does not infringe, upon any such claims.

       32.     Based on Counterclaim-Defendant’s filing of the Complaint, an actual controversy

has arisen and now exists between the parties as to the non-infringement of the claims of U.S.

Patent No. 8,533,802.

       33.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 1-2 and 5-9 of U.S. Patent No. 8,533,802, inter alia,

because it does not put the alleged invention into service, i.e., control the system as a whole and

obtain benefit from it.

       34.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 1-2, 5-9, 11-12, and 16-19 of U.S. Patent No. 8,533,802,

inter alia, because, the accused system does not include at least: “a messaging gateway having a

first set of instructions embodied in a computer readable medium, said first set of instructions

operable to receive from a requester purporting to be an authorized user of a secured resource a

request for access by an unauthorized service client to said secured resource”; “a server in secure

communication with said messaging gateway, said server having a second set of instructions

embodied in a computer readable medium operable to generate a key string adapted to provide a

basis for authenticating the identity of said requester”; “a service user interface in communication

with said server, said service user interface having a third set of instructions embodied in a

computer readable medium operable to receive input from said unauthorized service client”;

“wherein said first set of instructions is further operable to communicate said key string to said

authorized user that said requester purports to be”; “wherein said second set of instructions is




                                               - 37 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 38 of 59




further operable to receive an authentication credential from said unauthorized service client, said

authentication credential having been provided to said unauthorized service client by said

requester”; and “wherein said second set of instructions is further operable to evaluate said

authentication credential to authenticate the identity of said requester.”

       35.     Upon information and belief, Defendant has not jointly infringed, and does not

jointly infringe, any of at least the asserted claims 11-12 and 16-19 of U.S. Patent No. 8,533,802,

inter alia, because, with respect to Defendant’s alleged actions with any third-party, including, for

example, any of Defendant’s customer(s) or vendor(s), Defendant does not direct or control the

third-party and Defendant and the third-party do not form a joint enterprise.

       36.     Upon information and belief, Defendant has not infringed, and does not infringe,

any of at least the asserted claims 11-12 and 16-19 of U.S. Patent No. 8,533,802, inter alia,

because, the accused system does not practice a method for authenticating the identity of a

requester of access to a secured resource, said method for authenticating including at least the steps

of: “receiving at a messaging gateway having a first set of instructions embodied in a computer

readable medium, said first set of instructions operable to receive from a requester purporting to

be an authorized user of a secured resource, a request for access by an unauthorized service client

to a secured resource from a requester purporting to be an authorized user of said secured

resource”; “generating a key string with a server in secure communication with said messaging

gateway, said server having a second set of instructions embodied in a computer readable medium

operable to generate a key string adapted to provide a basis for authenticating the identity of said

requester”; “a service user interface in communication with said server, said service user interface

having a third set of instructions embodied in a computer readable medium operable to receive

input from said unauthorized service client”; “wherein said first set of instructions is further




                                                - 38 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 39 of 59




operable to communicate said key string to said authorized user that said requester purports to be”;

“wherein said second set of instructions is further operable to receive an authentication credential

from said unauthorized service client, said authentication credential having been provided to said

unauthorized service client by said requester”; and “wherein said second set of instructions is

further operable to evaluate said authentication credential to authenticate the identity of said

requester.”

       37.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that it has not and is not infringing

upon any of the claims of U.S. Patent No. 8,533,802.

                                 COUNTERCLAIM COUNT VII

              Declaratory Judgment of Unpatentability of U.S. Patent No. 9,584,499

       38.       Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 37 of this Counterclaim as if fully set forth and restated herein.

       39.       At least the asserted claims 1-3 of U.S. Patent No. 9,584,499 are unpatentable, and

void, as each is directed toward a patent-ineligible abstract idea and lacks any inventive concept,

element sufficient to transform the nature of the claim into a patent-eligible application, and/or

combination of elements sufficient to transform the nature of the claim into a patent-eligible

application.

       40.       Based on Counterclaim-Defendant’s filing of its Complaint, an actual controversy

has arisen and now exists between the parties as to the unpatentability of the claims of U.S. Patent

No. 9,584,499.

       41.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.




                                                - 39 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 40 of 59




9,584,499 are unpatentable, and void, for failure to comply with 35 U.S.C. § 101.

                                 COUNTERCLAIM COUNT VIII

                Declaratory Judgment of Invalidity of U.S. Patent No. 9,584,499

       42.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 41 of this Counterclaim as if fully set forth and restated herein.

       43.      At least the asserted claims 1-3 of U.S. Patent No. 9,584,499 are invalid, and void,

for failure to comply with the requirements of the patent laws of the United States, 35 U.S.C. §

100 et seq., for one or more of the following reasons, as well as others hereinafter set forth or

which Counterclaim-Plaintiff may hereafter discover or otherwise become informed of:

             (a) The alleged invention(s) was/were not new before the applicant’s alleged

             conception and/or reduction to practice;

             (b) The alleged invention(s) was/were known or used by others in this country, or

             patented or described in a printed publication in this or a foreign country, before the

             alleged invention thereof by the applicant for patent(s);

             (c) The alleged invention(s) was/were patented or described in a printed publication in

             this or a foreign country, or were in public use, on sale or sold in this country, more

             than one year prior to the date of the application thereof in the United States;

             (d) The alleged invention(s) was/were described in a patent granted on an application

             for patent by another filed in the United States before the alleged invention thereof by

             the applicant for the patent(s);

             (e) The patentee did not himself invent the subject matter claimed;

             (f) The patentee abandoned the alleged invention(s);

             (g) Before the alleged invention(s) was/were made by the patentee, said alleged




                                                 - 40 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 41 of 59




             invention(s) was/were made in this country by others who had not abandoned,

             suppressed or concealed the same;

             (h) The difference between the subject matter sought to be patented in at least the

             asserted claims 1-3 of U.S. Patent No. 9,584,499 and the prior art are such that the

             subject matter as a whole would have been obvious at the time the alleged invention(s)

             was/were made to a person having ordinary skill in the art to which said subject matter

             pertains;

             (i) The alleged invention(s) does not involve the exercise of inventive faculty, but only

             the judgment, knowledge and skill possessed by persons having ordinary skill in the art

             at the time of the alleged invention thereof by the patentee;

             (j) U.S. Patent No. 9,584,499 does not contain a written description of the alleged

             invention(s), and of the manner and process of making and using it/them, in such full,

             clear, concise and exact terms to enable one skilled in the art to which it is directed to

             make and use it/them; and

             (k) The asserted claims do not particularly point out and distinctly claim the subject

             matter which the applicant(s) and/or patentee(s) regard as their invention(s).

       44.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

9,584,499 are invalid, and void, for failure to comply with 35 U.S.C. §§ 102, 103, and/or 112.

                                  COUNTERCLAIM COUNT IX

          Declaratory Judgment of Non-Infringement of U.S. Patent No. 9,584,499

       45.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 44 of this Counterclaim as if fully set forth and restated herein.




                                                 - 41 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 42 of 59




        46.     Any claims of U.S. Patent No. 9,584,499 that may not be, arguendo, held

unpatentable, invalid, and/or unenforceable are so restricted in scope that Counterclaim-Plaintiff

has not infringed, and does not infringe, upon any such claims.

        47.     Based on Counterclaim-Defendant’s filing of the Complaint, an actual controversy

has arisen and now exists between the parties as to the non-infringement of the claims of U.S.

Patent No. 9,584,499.

        48.     Upon information and belief, Defendant has not jointly infringed, and does not

jointly infringe, upon any of at least the asserted claims 1-3 of U.S. Patent No. 9,584,499, inter

alia, because, with respect to Defendant’s alleged actions with any third-party, including, for

example, any of Defendant’s customer(s) or vendor(s), Defendant does not direct or control the

third-party and Defendant and the third-party do not form a joint enterprise.

        49.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 1-3 of U.S. Patent No. 9,584,499, inter alia, because, the

accused system does not practice a method for authorizing transaction specific access to a secured

resource having a secured resource identity, said method including at least the steps of: “receiving

at a messaging gateway having a first set of instructions embodied in a computer readable medium,

said first set of instructions operable to receive a request for transaction specific access to a secured

resource by a service client”; “determining a key string with a server in communication with said

messaging gateway, said server having a second set of instructions embodied in a computer

readable medium operable to determine said key string known to both said server and an authorized

user of said secured resource, said key string being associated with the secured resource identity

within a key string table accessible by the server and providing a basis for authenticating the

secured resource identity by searching the key string table for the key string”; “determining




                                                 - 42 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 43 of 59




transaction specific information with the server in communication with the messaging gateway,

said server having a third set of instructions embodied in a computer readable medium operable to

identify transaction specific information within the request”; “determining an authentication

credential with the server in communication with said messaging gateway, the server having a

fourth set of instructions operable to identify within the request an authentication credential

uniquely associated with said transaction specific information and said key string, said

authentication credential having been provided by the authorized user”; “evaluating said

authentication credential by the server, the server having a fifth set of instructions operable to

compare the key string and the transaction specific information with the authentication credential

to verify that the transaction specific access to the secured resource by the service client is

authorized by the authorized user”; and “wherein the key string and authentication credential do

not reveal any primary identifier associated with said secured resource.”

       50.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that it has not and is not infringing

upon any of the claims of U.S. Patent No. 9,584,499.

                                 COUNTERCLAIM COUNT X

             Declaratory Judgment of Unpatentability of U.S. Patent No. 10,148,659

       51.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 50 of this Counterclaim as if fully set forth and restated herein.

       52.      At least the asserted claims 1, 3, 5-7, 9, 11, and 13-15 of U.S. Patent No. 10,148,659

are unpatentable, and void, as each is directed toward a patent-ineligible abstract idea and lacks

any inventive concept, element sufficient to transform the nature of the claim into a patent-eligible

application, and/or combination of elements sufficient to transform the nature of the claim into a




                                                - 43 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 44 of 59




patent-eligible application.

       53.      Based on Counterclaim-Defendant’s filing of its Complaint, an actual controversy

has arisen and now exists between the parties as to the unpatentability of the claims of U.S. Patent

No. 10,148,659.

       54.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

10,148,659 are unpatentable, and void, for failure to comply with 35 U.S.C. § 101.

                                  COUNTERCLAIM COUNT XI

               Declaratory Judgment of Invalidity of U.S. Patent No. 10,148,659

       55.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 54 of this Counterclaim as if fully set forth and restated herein.

       56.      At least the asserted claims 1, 3, 5-7, 9, 11, and 13-15 of U.S. Patent No. 10,148,659

are invalid, and void, for failure to comply with the requirements of the patent laws of the United

States, 35 U.S.C. § 100 et seq., for one or more of the following reasons, as well as others

hereinafter set forth or which Counterclaim-Plaintiff may hereafter discover or otherwise become

informed of:

             (a) The alleged invention(s) was/were not new before the applicant’s alleged

             conception and/or reduction to practice;

             (b) The alleged invention(s) was/were known or used by others in this country, or

             patented or described in a printed publication in this or a foreign country, before the

             alleged invention thereof by the applicant for patent(s);

             (c) The alleged invention(s) was/were patented or described in a printed publication in

             this or a foreign country, or were in public use, on sale or sold in this country, more




                                                - 44 -
Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 45 of 59




  than one year prior to the date of the application thereof in the United States;

  (d) The alleged invention(s) was/were described in a patent granted on an application

  for patent by another filed in the United States before the alleged invention thereof by

  the applicant for the patent(s);

  (e) The patentee did not himself invent the subject matter claimed;

  (f) The patentee abandoned the alleged invention(s);

  (g) Before the alleged invention(s) was/were made by the patentee, said alleged

  invention(s) was/were made in this country by others who had not abandoned,

  suppressed or concealed the same;

  (h) The difference between the subject matter sought to be patented in at least the

  asserted claims 1, 3, 5-7, 9, 11, and 13-15 of U.S. Patent No. 10,148,659 and the prior

  art are such that the subject matter as a whole would have been obvious at the time the

  alleged invention(s) was/were made to a person having ordinary skill in the art to which

  said subject matter pertains;

  (i) The alleged invention(s) does not involve the exercise of inventive faculty, but only

  the judgment, knowledge and skill possessed by persons having ordinary skill in the art

  at the time of the alleged invention thereof by the patentee;

  (j) U.S. Patent No. 10,148,659 does not contain a written description of the alleged

  invention(s), and of the manner and process of making and using it/them, in such full,

  clear, concise and exact terms to enable one skilled in the art to which it is directed to

  make and use it/them; and

  (k) The asserted claims do not particularly point out and distinctly claim the subject

  matter which the applicant(s) and/or patentee(s) regard as their invention(s).




                                      - 45 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 46 of 59




       57.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

10,148,659 are invalid, and void, for failure to comply with 35 U.S.C. §§ 102, 103, and/or 112.

                                COUNTERCLAIM COUNT XII

          Declaratory Judgment of Non-Infringement of U.S. Patent No. 10,148,659

       58.     Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 57 of this Counterclaim as if fully set forth and restated herein.

       59.     Any claims of U.S. Patent No. 10,148,659 that may not be, arguendo, held

unpatentable, invalid, and/or unenforceable are so restricted in scope that Counterclaim-Plaintiff

has not infringed, and does not infringe, upon any such claims.

       60.     Based on Counterclaim-Defendant’s filing of the Complaint, an actual controversy

has arisen and now exists between the parties as to the non-infringement of the claims of U.S.

Patent No. 10,148,659.

       61.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 9, 11, and 13-15 of U.S. Patent No. 10,148,659, inter alia,

because it does not put the alleged invention into service, i.e., control the system as a whole and

obtain benefit from it.

       62.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 9, 11, and 13-15 of U.S. Patent No. 10,148,659, inter alia,

because, the accused system does not include at least: “at least one interface adapted to receive

and transmit data in communication with a credit or debit card account holder’s mobile device, a

merchant’s payment application, or both”; “one or more servers in secure communication with the

at least one interface, the one or more servers having”; “a first instruction embodied in a computer




                                               - 46 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 47 of 59




readable medium, the first instruction operable to receive registration information received from

the credit or debit card account holder through the at least one interface, the registration

information comprising a credit or debit card account holder identifier and at least one credit or

debit card account number having an associated unique account identifier wherein the credit or

debit card account number and unique account identifier are not the same”; “a second instruction

embodied in a computer readable medium, the second instruction operable to receive an

authorization request message to pay the specific merchant for the specific transaction from a given

debit or credit card account, the authorization request message having been received through the

at least one interface and originating from the credit or debit card account holder’s mobile device

and comprising”; “a first merchant identifier”; “a first transaction specific information selected

from the group consisting of a first transaction amount and first client reference identifier”; “the

credit or debit card account holder identifier”; “a designated unique account identifier selected

from the at least one unique account identifiers”; “a third instruction embodied in a computer

readable medium, the third instruction operable to”; “generate a first transaction specific

authentication credential associated with the authorization request, whereby the first transaction

specific authentication credential comprises a key string wherein the key string is not a temporary

credit or debit card account number and does not include or reveal the credit or debit card account

number associated with the designated unique account identifier”; “receive a payment request

message from the merchant's payment application through the at least one interface, the payment

request message comprising”; “a second merchant identifier”; “a second transaction specific

information selected from the group consisting of a second transaction amount and second client

reference identifier”; “a second transaction specific authentication credential whereby the second

authentication credential was received by the merchant application from the credit or debit card




                                               - 47 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 48 of 59




account holder's mobile device”; “validate the credit or debit card account holder's request to use

the credit or debit card account number associated with the designated unique account identifier

for payment to the specific merchant for the specific transaction and authorize the resource

provider to use the credit or debit card account number associated with the designated unique

account identifier to pay a specific merchant for a specific transaction without transmitting or

otherwise providing the credit or bank account number to the specific merchant by determining

if”; “the first merchant identifier matches the second merchant identifier”; “the first transaction

specific information matches the second transaction specific information”; and “the first

transaction specific authentication credential matches the second transaction specific

authentication credential.”

       63.     Upon information and belief, Defendant has not jointly infringed, and does not

jointly infringe, upon any of at least the asserted claims 1, 3, and 5-7 of U.S. Patent No. 10,148,659,

inter alia, because, with respect to Defendant’s alleged actions with any third-party, including, for

example, any of Defendant’s customer(s) or vendor(s), Defendant does not direct or control the

third-party and Defendant and the third-party do not form a joint enterprise.

       64.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 1, 3, and 5-7 of U.S. Patent No. 10,148,659, inter alia,

because, the accused system does not practice a computer-implemented method for a credit or

debit card account holder to authorize a resource provider to use a credit or debit card account

number to pay a specific merchant for a specific transaction without transmitting or otherwise

providing the credit or debit card account number to the merchant, the computer-implemented

method including at least the steps of: “providing at least one interface adapted to receive and

transmit data in communication with a credit or debit card account holder’s mobile device, a




                                                - 48 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 49 of 59




merchant’s payment application, or both”; “receiving registration information received from the

credit or debit card account holder through the at least one interface, the registration information

comprising a credit or debit card account holder identifier and at least one credit or debit card

account number having an associated unique account identifier wherein the credit or debit card

account number and unique account identifier are not the same”; “receiving an authorization

request message to pay the specific merchant for the specific transaction from a given debit or

credit card account, the authorization request message having been received through the at least

one interface and originating from the credit or debit card account holder’s mobile device and

comprising”; “a first merchant identifier”; “a first transaction specific information selected from

the group consisting of a first transaction amount and first client reference identifier”; “the credit

or debit card account holder identifier”; “a designated unique account identifier selected from the

at least one unique account identifiers”; “generating a first transaction specific authentication

credential associated with the authorization request, whereby the first transaction specific

authentication credential comprises a key string wherein the key string is not a temporary credit or

debit card account number and does not include or reveal the credit or debit card account number

associated with the designated unique account identifier”; “receiving a payment request message

from the merchant’s payment application through the at least one interface, the payment request

message comprising”; “a second merchant identifier”; “a second transaction specific information

selected from the group consisting of a second transaction amount and second client reference

identifier”; “a second transaction specific authentication credential whereby the second

authentication credential was received by the merchant application from the credit or debit card

account holder’s mobile device”; “validating the credit or debit card account holder’s request to

use the credit or debit card account number associated with the designated unique account




                                                - 49 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 50 of 59




identifier for payment to the specific merchant for the specific transaction and authorizing the

resource provider to use the credit or debit card account number associated with the designated

unique account identifier to pay a specific merchant for a specific transaction without transmitting

or otherwise providing the credit or bank account number to the specific merchant by determining

that”; “the first merchant identifier matches the second merchant identifier”; “the first transaction

specific information matches the second transaction specific information”; and “the first

transaction specific authentication credential matches the second transaction specific

authentication credential.”

       65.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that it has not and is not infringing

upon any of the claims of U.S. Patent No. 10,148,659.

                               COUNTERCLAIM COUNT XIII

             Declaratory Judgment of Unpatentability of U.S. Patent No. 10,560,454

       66.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 65 of this Counterclaim as if fully set forth and restated herein.

       67.      At least the asserted claims 1, 3, 5-8, 10, and 12-14 of U.S. Patent No. 10,560,454

are unpatentable, and void, as each is directed toward a patent-ineligible abstract idea and lacks

any inventive concept, element sufficient to transform the nature of the claim into a patent-eligible

application, and/or combination of elements sufficient to transform the nature of the claim into a

patent-eligible application.

       68.      Based on Counterclaim-Defendant’s filing of its Complaint, an actual controversy

has arisen and now exists between the parties as to the unpatentability of the claims of U.S. Patent

No. 10,560,454.




                                               - 50 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 51 of 59




       69.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

10,560,454 are unpatentable, and void, for failure to comply with 35 U.S.C. § 101.

                                 COUNTERCLAIM COUNT XIV

               Declaratory Judgment of Invalidity of U.S. Patent No. 10,560,454

       70.      Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 69 of this Counterclaim as if fully set forth and restated herein.

       71.      At least the asserted claims 1, 3, 5-8, 10, and 12-14 of U.S. Patent No. 10,560,454

are invalid, and void, for failure to comply with the requirements of the patent laws of the United

States, 35 U.S.C. § 100 et seq., for one or more of the following reasons, as well as others

hereinafter set forth or which Counterclaim-Plaintiff may hereafter discover or otherwise become

informed of:

             (a) The alleged invention(s) was/were not new before the applicant’s alleged

             conception and/or reduction to practice;

             (b) The alleged invention(s) was/were known or used by others in this country, or

             patented or described in a printed publication in this or a foreign country, before the

             alleged invention thereof by the applicant for patent(s);

             (c) The alleged invention(s) was/were patented or described in a printed publication in

             this or a foreign country, or were in public use, on sale or sold in this country, more

             than one year prior to the date of the application thereof in the United States;

             (d) The alleged invention(s) was/were described in a patent granted on an application

             for patent by another filed in the United States before the alleged invention thereof by

             the applicant for the patent(s);




                                                 - 51 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 52 of 59




             (e) The patentee did not himself invent the subject matter claimed;

             (f) The patentee abandoned the alleged invention(s);

             (g) Before the alleged invention(s) was/were made by the patentee, said alleged

             invention(s) was/were made in this country by others who had not abandoned,

             suppressed or concealed the same;

             (h) The difference between the subject matter sought to be patented in at least the

             asserted claims 1, 3, 5-8, 10 and 12-14 of U.S. Patent No. 10,560,454 and the prior art

             are such that the subject matter as a whole would have been obvious at the time the

             alleged invention(s) was/were made to a person having ordinary skill in the art to which

             said subject matter pertains;

             (i) The alleged invention(s) does not involve the exercise of inventive faculty, but only

             the judgment, knowledge and skill possessed by persons having ordinary skill in the art

             at the time of the alleged invention thereof by the patentee;

             (j) U.S. Patent No. 10,560,454 does not contain a written description of the alleged

             invention(s), and of the manner and process of making and using it/them, in such full,

             clear, concise and exact terms to enable one skilled in the art to which it is directed to

             make and use it/them; and

             (k) The asserted claims do not particularly point out and distinctly claim the subject

             matter which the applicant(s) and/or patentee(s) regard as their invention(s).

       72.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that the claims of U.S. Patent No.

10,560,454 are invalid, and void, for failure to comply with 35 U.S.C. §§ 102, 103, and/or 112.




                                                 - 52 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 53 of 59




                                COUNTERCLAIM COUNT XV

          Declaratory Judgment of Non-Infringement of U.S. Patent No. 10,560,454

       73.     Counterclaim-Plaintiff incorporates by reference each and every allegation set forth

in Paragraph 1 through 72 of this Counterclaim as if fully set forth and restated herein.

       74.     Any claims of U.S. Patent No. 10,560,454 that may not be, arguendo, held

unpatentable, invalid, and/or unenforceable are so restricted in scope that Counterclaim-Plaintiff

has not infringed, and does not infringe, upon any such claims.

       75.     Based on Counterclaim-Defendant’s filing of the Complaint, an actual controversy

has arisen and now exists between the parties as to the non-infringement of the claims of U.S.

Patent No. 10,560,454.

       76.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 8, 10 and 12-14 of U.S. Patent No. 10,560,454, inter alia,

because it does not put the alleged invention into service, i.e., control the system as a whole and

obtain benefit from it.

       77.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 8, 10 and 12-14 of U.S. Patent No. 10,560,454, inter alia,

because, the accused system does not include at least: “at least one interface adapted to receive

and transmit data in communication with a user’s application, a service client’s application, or

both”; “one or more servers in secure communication with the at least one interface, the one or

more servers having”; “a first instruction embodied in a computer readable medium, the first

instruction operable to receive registration information received from the user through at least one

interface, the registration information comprising a user identifier and at least one secured resource

identifier associated with the common identifier of the secured resource, wherein the common




                                                - 53 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 54 of 59




identifier and secured resource identifier are not the same”; “a second instruction embodied in a

computer readable medium, the second instruction operable to receive an authorization request

message to authorize access to the secured resource by the service client, the authorization request

message having been received through the at least one interface from the user’s application and

comprising”; “a first service client identifier”; “a first transaction specific information”; “the user

identifier”; “a designated secured resource identifier selected from one of the at least one secured

resource identifiers”; “a third instruction embodied in a computer readable medium, the third

instruction operable to”; “generate a first transaction specific authentication credential associated

with the authorization request, whereby the first transaction specific authentication credential

comprises a key string and does not include or reveal the common identifier associated with the

designated secured resource identifier”; “receive an access request message from the service

client’s application through the at least one interface, the access request message comprising”; “a

second service client identifier”; “a second transaction specific information”; “a second transaction

specific authentication credential whereby the second transaction specific authentication credential

was received by the service client’s application from the user’s application”; “validate the user’s

request to access the secured resource associated with the designated secured resource identifier

without transmitting or otherwise providing the common identifier of the secured resource to the

service client by determining if”; “the first service client identifier matches the second service

client identifier”; “the first transaction specific information matches the second transaction specific

information”; and “the first transaction specific authentication credential matches the second

transaction specific authentication credential.”

       78.     Upon information and belief, Defendant has not jointly infringed, and does not

jointly infringe, upon any of at least the asserted claims 1, 3, and 5-7 of U.S. Patent No. 10,560,454,




                                                - 54 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 55 of 59




inter alia, because, with respect to Defendant’s alleged actions with any third-party, including, for

example, any of Defendant’s customer(s) or vendor(s), Defendant does not direct or control the

third-party and Defendant and the third-party do not form a joint enterprise.

       79.     Upon information and belief, Defendant has not infringed, and does not infringe,

upon any of at least the asserted claims 1, 3, and 5-7 of U.S. Patent No. 10,560,454, inter alia,

because, the accused system does not practice a computer-implemented method for a user to

authorize a service client’s access to a secured resource associated with a common identifier

without transmitting or otherwise providing the secured resource’s common identifier to the

service client, the computer-implemented method including at least the steps of: “providing at least

one interface adapted to receive and transmit data in communication with a user’s application, a

service client’s application, or both”; “receiving registration information received from the user

through the at least one interface, the registration information comprising a user identifier and at

least one secured resource identifier associated with the common identifier of the secured resource,

wherein the common identifier and the secured resource identifier are not the same;” “receiving

an authorization request message to authorize access to the secured resource by the service client,

the authorization request message having been received through the at least one interface from the

user’s application and comprising”; “a first service client identifier”; “a first transaction specific

information”; “the user identifier”; “a designated secured resource identifier selected from one of

the at least one secured resource identifiers”; “generating a first transaction specific authentication

credential associated with the authorization request, whereby the first transaction specific

authentication credential comprises a key string and does not include or reveal the common

identifier associated with the designated secured resource identifier”; “receiving an access request

message from the service client’s application through the at least one interface, the access request




                                                - 55 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 56 of 59




message comprising”; “a second service client identifier”; “a second transaction specific

information”; “a second transaction specific authentication credential whereby the second

transaction specific authentication credential was received by the service client’s application from

the user's application”; “validating the user's request to access the secured resource associated with

the designated secured resource identifier without transmitting or otherwise providing the common

identifier of the secured resource to the service client by determining if”; “the first service client

identifier matches the second service client identifier”; “the first transaction specific information

matches the second transaction specific information”; and “the first transaction specific

authentication credential matches the second transaction specific authentication credential.”

       80.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Counterclaim-Plaintiff requests a declaration from the Court that it has not and is not infringing

upon any of the claims of U.S. Patent No. 10,560,454.



                                           Jury Demand

       Counterclaim-Plaintiff Independent Bank demands a jury trial on all issues so triable.



                                         Prayer for Relief

         WHEREFORE, Counterclaim-Plaintiff Independent Bank respectfully prays that the

Court enter judgment in its favor and award the following relief against Counterclaim-Defendant

Textile Computer Systems, Inc.

       A.      Declare that Independent Bank has not infringed upon any of the claims of the

Asserted Patents;

       B.      Declare that each claim of the Asserted Patents is unpatentable;




                                                - 56 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 57 of 59




       C.      Declare that each claim of the Asserted Patents is invalid;

       D.      Declare that each claim of the Asserted Patents is unenforceable;

       E.      Permanently enjoin Textile Computer Systems, Inc. and its officers, directors,

agents, servants, employees, and attorneys, and any and all persons in active concert or

participation with any of them, from asserting, stating, implying or suggesting that Independent

Bank and/or any of its respective officers, agents, servants, employees, subsidiaries, vendors, or

customers infringe any of the claims of the Asserted Patents, or instituting any further action for

infringement of the Asserted Patents against Independent Bank, or any of its customers, vendors,

agents, successors and assigns;

       F.      Finding that this case is exceptional pursuant to 35 U.S.C. § 285 and awarding

Independent Bank its reasonable attorneys’ fees, expenses and costs incurred in connection with

this action; and

       G.      Awarding to Independent Bank such other and further relief as the Court may deem

just and proper under the circumstances.




                                              - 57 -
      Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 58 of 59




Dated: August 19, 2022                 Respectfully submitted,


                                       /s/ Nick E. Williamson
                                       Michael C. Smith
                                       Walker Steven Young (pro hac vice)
                                       SCHEEF & STONE, LLP
                                       113 East Austin St.
                                       Marshall, TX 75670
                                       Telephone: (903) 938-8900
                                       michael.smith@solidcounsel.com

                                       Paige Stradley (pro hac vice)
                                       Rachel Zimmerman Scobie (pro hac vice)
                                       Jeffrey Blake (pro hac vice)
                                       MERCHANT & GOULD P.C.
                                       150 S. Fifth Street, Suite 2200
                                       Minneapolis, MN 55402

                                       David A. Roodman (pro hac vice)
                                       Nick E. Williamson (pro hac vice)
                                       George G. Brell (pro hac vice)
                                       BRYAN CAVE LEIGHTON PAISNER LLP
                                       One Metropolitan Square
                                       211 North Broadway, Suite 3600
                                       St. Louis, MO 63102
                                       Telephone: (314) 259-2000
                                       daroodman@bclplaw.com
                                       nick.williamson@bclplaw.com

                                       Attorneys for Defendant
                                       Independent Bank in connection with
                                       allegations arising in Case No. 6:21-cv-1054




                                   - 58 -
        Case 6:21-cv-01054-ADA Document 66 Filed 08/19/22 Page 59 of 59




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who have

consented to electronic service on August 19, 2022.


                                                 By: /s/ Nick E. Williamson
                                                    Nick E. Williamson




                                             - 59 -
